H. H. ROBERTS, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Roberts v. CommissionerDocket No. 9579.United States Board of Tax Appeals9 B.T.A. 376; 1927 BTA LEXIS 2600; November 28, 1927, Promulgated *2600  Traveling expenses paid by a salesman on a straight commission basis are deductible as ordinary and necessary business expenses.  H. H. Roberts pro se.  Thomas M. Wilkins, Esq., for the respondent.  MORRIS*376  This proceeding is for the redetermination of a deficiency in income tax of $100 for the year 1920.  The deficiency arises because of the disallowance of $2,500 claimed as traveling expenses.  FINDINGS OF FACT.  Petitioner during 1920, was a single man residing with his brother in Chicago, and was employed as a traveling salesman for the Amalgamated Roofing Co.  He sold prepared roofing and asphalt shingles on a straight commission basis.  His territory consisted of the States of Iowa and Nebraska, which had never been worked by the Amalgamated Roofing Co., and he had to build up his own trade.  He sold principally to lumber dealers and to some hardware stores, but rarely to more than one customer in each town.  His sole income for 1920 was from commissions on sales, which amounted to $4,143.70.  From this amount he paid his traveling and other expenses.  Petitioner divided his territory into two round trips, each of which took between*2601  two and three weeks.  One trip covered the southern part of Iowa into Nebraska as far as Lincoln, the other covered only northern Iowa.  The territory was worked by train except for short trips made by automobile now and then.  He worked as many as three or four towns in a day and covered the territory about once a month.  The distance traveled by train during the year was approximately 30,000 miles, at a cost of 3.4 cents per mile, exclusive of Pullman fares.  He was on the road 50 weeks out of the year and averaged *377  25 nights per month in hotels at an average charge per night of $3.50.  Bus fares amounted to approximately $75 for the year based on an average bus charge of 25 cents per day for 300 working days.  Meals cost on an average of $2 per day.  Petitioner deducted $2,500 for traveling expenses of his 1920 return, which was disallowed by the respondent because of a lack of evidence to substantiate the deduction.  OPINION.  MORRIS: We are satisfied from the evidence that the petitioner is entitled to the deduction claimed as traveling expenses for 1920.  It is apparent from the testimony that he expended at least the amount claimed during the year in soliciting*2602  orders.  A mathematical computation will show that the total of the items of expense set out above amounts to more than the claimed deduction.  In addition there were other expenses testified to which could not be determined as to their actual amount.  Judgment will be entered for the petitioner.Considered by MURDOCK and SIEFKIN.  